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                     Internet Bitcoin King: Mt. Gox CEO Mark Karpelès' History of Arrests, Firings
                     Jason Mick (Blog) - March 5, 2014 9:05 AM




                     Mr. Karpelès' work record suggests the young developer is the last one to trust with your
                     cash

                     If only Bitcoin's backers -- a diverse group ranging from season financial professionals
                     to "average Joes" -- had read this article two years ago, maybe they would have thought
                     twice before blindly trusting a young CEO. Maybe if they had read this piece two years
                     ago, maybe thousands of investors would have avoid losing nearly half a billion dollars of
                     their hard earned money.

                     I. Financial Advice From a Card Dealer?

                     But for those who lost it all, the truth is you didn't need to read this article two years ago to
                     find about out about the eye-opening, largely self-reported history of firings and fraud that
                     littered the record of the man that was in many ways the baby-faced accidental "king" of the
                     Bitcoin movement.

                     But investors never bothered to even read the words that Bitcoin's biggest mogul had put on
                     the internet for all to see.

                     Instead, the cryptocurrency's backers were stuck in the "10 day dream" that the man who
                     appears to have scammed them once found himself happily trapped in. Some tenaciously
                     seized on the novel notion of cryptocurrency would sew the seeds of destruction of the (at
                     times existential) evil of the banking industry. Others investors, ironically, were wealthy
                     capitalists either part of or tightly tied to the banking industry. Deep-pocketed investors
                     sought out the bitcoin for similar reasons as those who despised them -- less regulation. To
                     this class of investors the Bitcoin represented a tempting new form of lightly
                     monitored/regulated investment that often proved predictably volatile.




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                     The reasons were diverse, but in the end an estimated 1.2 million people worldwide
                     embraced the Bitcoin. And for a time most of these backers put their blind trust in an
                     unknown, new website that quickly positioned itself at the forefront of Bitcoin money
                     handling.

                     The first red flag perhaps might have been the site's well-documented history. It had only
                     recently rebranded itself "Mt. Gox, Ltd." in a not-so-subtle grasp at legitimacy. Just a year
                     before it had been MtGOX (Magic the Gathering Online Exchange), a site that was
                     originally designed as a trading portal for Magic: The Gathering collectible cards.




                     Adding a period might help some forget about the original name, but it didn't change the
                     fact that neither Mt. Gox or its owners had any solid experience in the financial industry,
                     nor did they hire sufficient employees with such experience. Had they, perhaps things
                     would not have gone so badly.

                     Trusting your money with a Magic: The Gathering site might be considered tantamount to
                     other sage financial strategies, such as diversifying into Pokémon fan-sites-turned financial
                     institutions, or dripping your dollars into fan fiction portals that moonlight as money traders.

                     But until the stunning revelations of the last few months, most never questioned the
                     soundness of entrusting Mt. Gox -- from 2011 to mid-2013 the world's largest Bitcoin
                     exchange -- with half a billion dollars. They would only come to notice the site's origins --
                     perhaps the first red flag -- after they lost it all.

                     To those gripped by wild optimism, nothing could go wrong. Their investment ally
                     appeared a bold startup, leading the merry fiscal rebellion. And at its stern was a talkative
                     new owner, who had no reservations about playing evangelist for the fresh financial fad.

                     Given his website's original line of business, it was perhaps appropriate that this self-
                     proclaimed PHP wizard-turned-Bitcoin mogul had for years went by the handle "Magical
                     Tux". Financial planners might consider that another read flag. Most serious banking
                     experts don't have a humorous handle and spend hours lurking in forums.




                       Who is Mark Marie Robert Karpelès? Most reports have barely brushed the surface of the young CEO's
                                                   checkered history. [Image Source: YouTube]




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                     But it is the internet age, after all, an era ruled by Mark Zuckerberg and his internet ilk --
                     men and women who make billions while wearing jeans and a T-shirt. Was it really that
                     unbelievable to think that a man who called himself "Magical Tux" online and fancied
                     himself the "king" of Bitcoin could handle a half-billion dollar hedge fund?

                     Clearly many people found the concept entirely plausible.

                     Thus when American P2P pioneer Jed McCaleb entrusted his seven-month-old creation to a
                     man who just months before was a struggling cubicle developer at a Japanese IT firm, no
                     one became alarmed. Should they have been? Just who was this new owner?

                     His name was Mark Marie Robert Karpelès.

                     II. Mt. Gox CEO's Dark Secrets Begin to Leak

                     They say that in the digital era there are no secrets. Indeed that often seems to be the case.

                     But Mr. Karpelès had plenty of secrets -- including where he got the money to suddenly
                     launch a career as a venture capitalist, and why he was in exile in the first place from his
                     native homeland.

                     But even in the digital era the darkest of secrets can still lurk undisturbed for years, until the
                     catalyst of current events provokes them to rise like bubbles to the surface.

                     March 2011 will likely go down in history as one of the most important dates in Bitcoin
                     history, as it was the month when Mr. Karpelès bought a majority stake in Mt. Gox.
                     Assuming the duties of manager, coder, and promoter for the site, Mr. Karpelès would make
                     the portal the best-known name in Bitcoin (and in turn making himself a millionaire in the
                     process).




                      Mt. Gox earned Mark Karpelès adoration and millions, goodwill and assets he would later squander. [Image
                                                               Source: Yahoo News]

                     Most readers will recognize by now that the importance of this event is not in a feel good
                     story, but in a cautionary tale. The month will long be held as a glaring reminder of the
                     danger of failing to probe the digital stranger whom you're entrusting your money with.

                     When it comes to dark secrets, you won't have to look for long to find them regarding Mr.
                     Karpelès. He chronicled much of his troubled history in his own public blog, which anyone
                     could have read.

                     Incredibly that history went unread. The lake of information on Bitcoin's new "king" (a title
                     Wired writes he encouraged employees to refer to him as) went unreported. However,
                     things would begin to bubble up in the wake of what happened last week.

                     Last week Mt. Gox officially filed for bankruptcy, leaving its customers with potentially
                     nearly half a billion dollars worth of losses. With a faint hint of a grin, Mr. Karpelès
                     claimed that coding glitches had led the company to lose 99.97 percent of its Bitcoins.
                     Incredibly, he suggested that he and his roughly dozen employees never noticed this epic
                     heist, despite the fact that these losses occurred continuously over the last few years.




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                                      Mark Karpelès bows to the press in apology. [Image Source: Reuters]

                     For Mt. Gox customers, the news seemingly went from bad to worse this week when an
                     unknown individual entered the ##mtgox-chat IRC channel with the stunning claim that a
                     hacker collective deeply penetrated Mt. Gox's network prior to its bankruptcy. The poster
                     writes:

                           i just relay... i cant good english... they say me there is botnet [attacking?] gox
                           company for some year to get file. they have 20gb document and give me share here.
                           i not hacker... just posting. i just translate some the line in room of talk... [the room]
                           is Russian is russian so copy paste here senseless... apology [but] i cant share
                           original [so its] useless to ask.

                     Going by the handle "nanashi" (Japanese for "anonymous"), the chatter looked to back up
                     their bold claims by presenting a private recording of a phone call between Mr. Karpelès
                     and a representative from Mizuho bank. They also posted a piece of Mt. Gox's proprietary
                     PHP-scripted trading engine.




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                                                               Mt. Gox source code

                     And for good measure they posted some personal details of Mr. Karpelès and other Mt. Gox
                     employees, including their phone numbers.

                     Asked how this data was obtained, the messenger -- who identified themselves as a Serbian -
                     - said that in recent months hackers had installed a rootkit on one of Mt. Gox's servers via
                     known flaws Gentoo Linux distribution that the poster says "<expletive> French (Mr.
                     Karpelès) [did] not update."




                            Hackers reportedly gained access to Mt. Gox's servers via an outdated build of Gentoo Linux.

                     The poster's comments hinted that their hacker acquaintances were flush with oceans of Mt.
                     Gox's customer data. Given the level of access, presumably this would include customer
                     bank numbers, unencrypted passwords/usernames, and other sensitive information. Nanashi
                     revealed that the hackers allegedly had scans of customers' passports, a proof of
                     identification that Mt. Gox had typically required users to send when opening accounts.




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                     Mt. Gox had become "Mt. Dox", exposing its customers.

                     III. Mt. Gox == Mt. Dox?

                     But for those tired of getting "goxxed" -- a term coined by Redditors to refer to being taken
                     advantage of -- there was a bit of good news. According to nanashi:

                           they have db dump yes [but] they not stealer. [they] just want to show truth. but not
                           easy, we dont have btc. i dont paid. [they] want gox boss going a jail for crime
                           against user.

                     Asked if he knew where Mr. Karpelès had put the funds he allegedly stole, he remarked:

                           unknown... maybe put in fat french boss <expletive>.

                     While it's entirely possible that these promises of protecting Mt. Gox's users will fall flat,
                     the leak does appear to be legitimate and reveals some telling details.




                                                         [Image Source: Collaborista]

                     These details are perhaps a good starting point to learn about the man people entrusted so
                     much money with. Ultimately the leaked information is less compelling than the unread
                     stories of Mr. Karpelès early career. But let us first find out about the Mark Karpelès of
                     today, before looking at the fallen executive's troubles of yesterday.

                     IV. Leaked Bank Call Shows Karpelès to Struggle With Japanese Business Etiquette

                     First, the leaked phone call casts light on a backstory about the problems with banks that
                     Mr. Karpelès was hinting at. In the call the banker informs Mr. Karpelès that he wants Mt.
                     Gox to close its account for various reasons -- likely due to allegations of illegality. The
                     banker is vague regarding the cause, but insistent that Mr. Karpelès close the account.

                     Publicly Mr. Karpelès had claimed to be "fluent" or "almost fluent" in Japanese. He wrote
                     in an Aug. 2007 blog:

                           Many of you knew, some didn’t know, I went to Japan from July 15th to August 15th.
                           During one full month, I had to speak Japanese, and live in the Japanese way.

                           I could stay in a guest house in Omiya, Saitama, and also spent one week in Osaka
                           (during which I could go to Kyoto).

                           Thanks to that, I gained a few levels in Japanese Mastering, allowing me to speak
                           Japanese (almost) fluently, speak with Japanese women which resulted in strange
                           results, such as me, being a geekmaster, having a Japanese girlfriend.

                           And yeah, you probably can’t believe it, but I now have a girlfriend, who happen to
                           be a cute Japanese woman. Looks like being geek is not really a problem in Japan.

                           The best way to get a japanese girl « in your pocket » has a name : iPhone®

                     He later brags:

                           I fully speak and understand spoken French, English and Japanese (which I’m unable
                           to write, and sometimes unable to read).




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                     But his mastery of the Japanese language in the phone call comes off as rudimentary, so
                     much so that he uses pronouns ("Ore") to refer to himself in a way that is considered rude
                     and condescending to Japanese speakers. A commenter on Y Combinator's Hacker News
                     explains:

                           As explained below, Karpeles referred to himself as "ore". "Ore" is mostly used by
                           men, and carries a boastful tone. Moreover, pronouns aren't necessary to make
                           grammatical sentences, e.g. "I went to the bank" = "Ginko ni ikimashita" = "[Bank]
                           [to] [did go]".

                           The only function of the word "ore" is to emphasize your own high status relative to
                           whomever you're speaking to. In a bar, after a couple of drinks, among equals, it's
                           quite typical for all the men (usually not women) to use "ore". But in a formal
                           business meeting --- this is known to be an absolute no-no by anyone who has
                           formally learned even a small amount of Japanese.

                           A fairly close analogy in English would be to randomly sprinkle <the F word> in
                           your speech.

                     A discussion at Reddit examines this, with Japanese speakers saying the bank executive did
                     not take offense to his mistake, while informing him of it. His lawyer -- a Japanese woman -
                     - tried to the calm the waters with an apology for her client's speech. A Redditor
                     ("MightySpoon") writes:

                           [His lawyer] comments [that] he is French, is bad at Japanese, and doesn't mean to
                           be rude.

                     But that was far from the only peculiarity uncovered by the customers. At another point in
                     the conversation, when asked by the banker whether his company owns/trades Bitcoins
                     himself, he appears to lie, responding:

                           No, because it will be unfair to there customers.

                     (source: japanesethroway -- post)

                     Despite Mr. Karpelès lawyer's objections, the banker tells him that closing the account is
                     non-negotiable. He remains polite asking Mr. Karpelès with perhaps feigned interest about
                     the progress of Bitcoin and his company, and even discussing where the best sushi in town
                     lies.

                     In court last week and at a press conference regarding his exchange's closure, Mr. Karpelès
                     claimed he himself was also a victim, suddenly claiming that he did own Bitcoins -- or at
                     least had at one point. But his exchange's 100,000 Bitcoins were stolen alongside his
                     customers', he claimed.




                        Mt. Gox's CEO makes the laughable claim that 99.9 percent of his assets were stolen before he noticed.
                                                               [Image Source: Gigaom]

                     But the sushi and Mr. Karpelès’ prior claim that he did not hold Bitcoins were not the only
                     fishy facts to emerge about the Frenchman in recent weeks.




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                     V. Bitcoin Mogul Blames "Family Problems", Drugs for Early Arrests

                     It's unfair to judge someone for a single mistake, particularly a bad choice made in one's
                     youth. Some even wear such incidents -- e.g. arrests for hacking in their younger years -- as
                     badges of honor. But it's fair to examine whether such incidents truly represent the folly of
                     youth or whether they were actually indicative of a broader pattern, driven by one's
                     character flaws.

                     In Mr. Karpelès' case, accusations of fraud and business failure followed him throughout his
                     career.

                     Born in Chenôve, France Mr. Karpelès grew up nearby Dijon. His mother was a geologist
                     by trade, but turned to a career in real estate. He wrote his first computer program at age
                     10. That same year he was sent to live at Collège Prieuré de Binson, a Catholic boarding
                     school two hours north of Dijon.




                       Mr. Karpelès mother paid for him to attend posh boarding schools, but he allegedly "misspent" his youth,
                                    breaking computer laws and getting high. [Image Source: Patrick Dieu Donne]

                     Between Jan. 2006 and May 2012, the young coder posted his thoughts in the MagicalTux
                     blog. In posts written in French, he hints that he had a troubled childhood. He writes in one
                     blog:

                           Never in the 20 years in France I did felt at home. I also had a lot of family problems.

                     He also writes of a mysterious arrest from his youth over "payment systems" and the
                     internet. The post was first noted by members of Anonymous and British member of
                     parliament John Bercow -- and later picked up by Gawker -- hints that the collapse of Mt.
                     Gox isn't the first time that Mr. Karpelès has faced allegations of financial fraud. In his post
                     he writes (translated by MP Bercow):

                           Indeed, during my misspent youth, I made a huge, huge mistake. Enough silliness that
                           I found myself locked into custody and brought temporarily placed in
                           the “mousetrap” (souricière: possibly "n.f. (pol.): ‘Baited trap’ laid by the forces of
                           law-and-order."). This was followed by an investigation of more than a year, which
                           eventually ended in a trial.

                           ...

                           I will not give too much detail about what I did wrong, just say it concerns payment
                           systems on the Internet. I spent two years taking risks becoming larger, perhaps
                           because it was an exciting side … whatever, I ended up getting arrested (in rather
                           bizarre circumstances, noting that when I was arrested, I was just in a police station
                           to file a complaint for something else).

                           Anyway, I was released four days later and placed under "judicial review". Basically
                           I did not have the right to leave France and I had to go regularly to the courthouse to
                           speak to someone who was going to see if I lived in “the right way”.

                           Along with this, they tried to paint a picture of my personality. To do this, I had
                           meetings with a kind of psych team. I went through various tests, a test to determine if
                           I am a murderer, an IQ test, etc … (I guess, eh, but having said that it should not be
                           far to the IQ test because I not recognize a lot of standard questions).

                           Then I had the right to visits to a shrink. And it turned out, after much discussion, this
                           psych was also interested in Japan (except that a psychologist there earns a rather
                           good living, and they can go regularly) … And I had a agreement with the therapist.

                           The agreement was rather simple. I had to do historical research in the history of
                           Japan and write a report. Obviously it was not so complicated for me, but I could still
                           see and more interesting things about some of the history of Japan.

                           In the end he stated in his report (which I have a copy) that I was not responsible for
                           my actions, and that the abuse of cannabis was bad for my mental health. I was
                           rather shocked (I never, oh, ever smoked substances “illegal”, I swear on it), then




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                           after thinking a lot, I finally concluded that it was can not be so bad as that.

                           In the end, the trial was not concluded too bad for me (3 months suspended sentence
                           disappearing after 5 years, and nothing in the criminal record).

                     It's unclear when exactly this arrest took place, but it appears that it occurred between the
                     time Mr. Karpelès was age 13 and 18, a period during which he was becoming active in the
                     world of web hosting, hacking, and website development.




                      Mr. Karpelès' posts indicate that he has been arrested at least twice on fraud or computer crime suspicions,
                        including an arrest where he was found guilty of fraud relating to money transfers. [Image Source: AFP]

                     The wording indicates that this is not the same event as his 2005 fallout with his employer,
                     which led in a separate detention. Some have suggested that the two events are the same,
                     but it appears that is not the case (the other incident will be discussed shortly).

                     VI. Going Legit?

                     In 2001, when Mr. Karpelès was about to turn 16 he was working on a site called
                     OOKOO.org. Curiously, he never mentions the site's early days in his resume. It's unclear
                     whether this is due to its involvement in the aforementioned police troubles, or if he simply
                     didn't find his work professional enough to show off.




                     In late 2001 OOKOO morphed into a new site, ff.st. An update to ookoo.org (which
                     subsequently went offline) reads:

                           O OKOO.ORG changed its name and become FF.ST !

                     By Mr. Karpelès' accounting, this was his first reputable work as a professional. The site no
                     longer exists, but it can be viewed here in archived form.




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                     According to a blog post, he lost his original hosting for the site when its location -- the
                     World Trade Center -- was attacked.

                     VII. Bouncing From Failing Firms 2001-2003

                     Sometime in late 2001 and early 2002, while searching for new hosting, he crossed paths
                     with the Riviera Group. This was a local business conglomerate that owned a web hosting
                     service called Kalyone, which offered a service called Kalyweb.

                     He elaborates:

                           [In] 2002 [I] worked [at] Kalyweb/Kalyone while still managing FF.ST (and
                           installed my own server there too). Was going nice, but there was some problems I'm
                           not fully aware of (was too young), and the whole thing went down without any
                           second though about customers (searching for "kalyone" on Google France might
                           give some results)

                     Following his advice we discovered that Kalyweb went bankrupt and closed, with the
                     apparent filing date in Sept. or Oct. 2002. A reseller HMT-Pro (formerly: "de Mad Troll")
                     describes this process as sudden, and left customers no time to recover their work. The site
                     posts (translated):

                           Our supplier KALYWEB is in liquidation, we became aware of this state Monday,
                           October 14, 2002 and we have not had time to finish preparations for the change
                           when the Internet break occurred. In order not to speculate about this because only
                           judges will now upcoming events about this company we do not dwell on this subject
                           and we present the solutions implemented.




                         Mr. Karpelès, seen here in a photo from his younger years, first went to work at an IT firm that went
                                      bankrupt. He was fired (aka "kicked out") from his second professional job.

                     Mr. Karpelès, now age 18, landed on his feet, joining up with some KALYWEB veterans
                     who launched a new web hosting service in Paris, France in 2003. He writes:

                           [In 2003 I joined] RYA-Network (with some of the guys from Kalyone), where I could




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                           use some of my past experience and improve many things. This allowed me to
                           discover the datacenters world in Paris, with visits in different datacenters. Soon
                           problems arised with unhappy customers, mainly because of poor sales methods, and
                           I got kicked out while customers were sold to a third party (or so it seems).

                     Again, one does not have to look far to find a record of the mess RYA left. A post on
                     Abraxar by a user dubbed "Lanfeust" suggests RYA seemed promising at first, but was
                     already experiencing problems within months of its launch. During Mr. Karpelès' brief stint
                     there, customers complained of service outages. The bitter customer wrote (translated):

                           The beginnings of RYA is encouraging, the dynamism of the small team is felt and the
                           benefits are waiting for you, and forgive amateurism in business management
                           attributed to the freshness of the team. However the site is classified as
                           host "professional" and promises benefits high-flying (maintenance 24/7, guaranteed
                           bandwidth, uptime 99% etc ...).

                           Unfortunately after a few months the first technical problems occur as a service
                           interruption for several days during the summer. There is at this time a
                           communication almost zero the RYA team towards customers, which for most insiders
                           manage to get bits of information on an IRC channel at odd hours. We later learned
                           that an interruption of a bandwidth provider has been the cause of incidents, and
                           RYA minimize its responsibility in the matter, however, clear from the technological
                           choices.

                     RYA appears to have collapsed at some point in 2004 or 2005.

                     VIII. Reprimanded, then Fired, Karpelès Threatened Suicide on Blog

                     But while Mr. Karpelès may have played a small part in the poor service that led to that
                     demise, he was not around to see it as, by the sound of his description, he had been fired. In
                     Oct. 2003 he was hired by a new company -- Linux Cyberjoueurs. Owned by Stephane
                     Portha, LC developed Flash games and Graal online, an MMO RPG.

                     The owner and Mr. Karpelès had a stormy relationship. While Mr. Karpelès generally
                     portrayed this as a late development that only emerged in 2005, through 2003 and 2004 he
                     was dogged with complaints from his boss. Portha accused him, among other things, of
                     spending too much time in internet chats and forums while making no progress on code for
                     the day.

                     Anonymous has leaked several letters. One discusses a March 12, 2004 incident, in which
                     his employer states:

                           Mr. Karpeles,

                           I find myself obliged to notify you of a reprimand for your misconduct.

                           You have been notified on numerous occasions that the use of the [workplace's]
                           Internet and your computer are reserved for your professional work, but that
                           occasional private use is tolerated provided that it does not impede the good conduct
                           of the affairs of the company. (See your contract of employment)

                           In the office Friday, March 12, 2004 I observed that you not only did not do your
                           [coding] work, but that you were [instead] using Internet chat software.

                           Also, I found it particularly troubling that you would lie [to me] when i asked you
                           about what you were working on and that you [did not stop] your use of this software
                           to chat after several requests for explanation [of your behavior].

                           If this happens again, we will be compelled to take serious disciplinary action, rather
                           than a simple reprimand.

                           Please accept my sentiments on this matter, sir.

                           Signed,
                           Stephane Portha

                     In March 2005, Mr. Karpelès decided to abandon his work -- apparently without giving his
                     employer any notice -- and travelled to Japan on a spur-of-the-moment trip to promote his
                     Manga-related website. He comments (translated from French):

                           Having always dreamed of going to Japan, I gladly accepted. What follows is a race
                           [with customs] to obtain a passport in less than 3 days, prepare a departure to Japan,
                           fund my plane ...

                           Finally, I'm flying to Japan. Over there everything [is going great], I took a few
                           thousand photos , and a whole lot of adventure, full of discovery and extremely
                           exciting things.




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                       In a 2006 blog, he writes that broke and on the verge of being fired, he considered hanging himself with a
                                                     network cable. [Image Source: Darcy Moore]

                     Returning home from the "10 days of dream", he recalls being overwhelmed
                     with "invoices, bills, bills" and seems to imply that he contemplated suicide. In his post he
                     writes:

                           Big depression, I [decide I will send] a letter of resignation and I [will] hang [myself]
                           with a network cable [from] my window (now that I [journeyed to] Japan I can die in
                           peace.)

                     His employer (presumably Mr. Portha) talked him down by offering to buy his ff.st site and
                     IRC channel for €3,100 ($4,250 USD at the time, or about $5,000 USD today). He sells his
                     sites, and decides to move to Japan -- apparently not thinking that he should bother
                     continuing to show up to work.

                     IX. Another Arrest Drives Karpelès to Japan

                     It appears he never formally resigned, so he ended up receiving an angry letter in July
                     indicating that he was terminated. It appears that during his time off, and possibly even
                     after he was terminated, he continued to allow automated backups of his employers code to
                     occur, which later led to police trouble when he was embroiled in an investigation.

                     In late 2005 he had moved to Israel, hoping to get closer to his Catholic faith while working
                     for internet company Fotovista. He seemed very passionate for about his new home in
                     Israel, writing he was using "Hebrew for Christians" to learn the country's language. In a
                     blog post he argues that Hebrew is as important to Christians as it is to religious Jews. He
                     only worked at this job for a few months before he once again began to feel depressed
                     and "empty" according to one blog.

                     He was also suffering more work problems. Israel at the time was suffering power outages
                     related to conflict with Palestine and "the war" (presumably the Iraq/Afghanistan invasions
                     by the U.S.) (or possibly the 2006 Gaza strip conflict with Hamas, which he blogs about
                     here). He had been working on the side – separate from his work at Fotovista -- looking to
                     revive his Ookoo.org domain, which he still owns. But he says he lost most of his
                     customers due to the power outages and service disruptions.




                        Mr. Karpelès comments hint he was fired from Fotovista, an Israel internet firm, after he failed to fit in.

                     There are some unsubstantiated rumors that he may have been fired from Fotovista when




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                                     they discovered he was spending most of his worktime maintaining Ookoo.org.

                                     Whatever happened, it is clear that he was soon not employed by Fotovista and was forced
                                     to to abruptly return to France. In a post (translated), he writes:

                                            [I arrived back] in France following the poor results of OOKOO and problems in
                                            Israel.

                                     Arriving home he found himself arrested by BEFTI (Brigade Investigation of Fraud in
                                     Information Technology) -- French tech police. He describes the BEFTI officers
                                     as "barbaric", commenting that the arrest was "like no other".




                                     In Jan. 2006, Mr. Karpelès is arrested again after allegations that he stole his employers' data. He is eventually
                                                                             released without being charged.

                                     After 13 hours in jail and a search of the servers, Palm Pilot, and other home computers, he
                                     was finally released after making a statement.

                                     At this point Mr. Karpelès has just turned 21. While still battling legally with his former
                                     employer (Mr. Portha), he started a new software-geared business, Kinoko. He was also
                                     hired by Telechargement.fr and soon caught a lucky break. NEXWAY Comp., Ltd., a
                                     Japanese IT firm owned by the INTEC Group, aka IT Holdings Corp. (TYO:3626),
                                     purchased his employer, giving him the perfect opportunity to move back to Japan.




                                     In 2009 he moved to Japan, where he stayed until today.

                                     At this point he'd been arrested and found guilty of a financial computer crime once already,
                                     been fired from two (or possibly three?) jobs, was accused of being a poor worker, and was
                                     suffering from emotional issues.

                                     How did he come to control a half billion in assets from this low?

                                     What happened next to Mr. Karpelès? Would he turn the corner with his career? Or would
                                     things take a turn for the worse?

                                     Let's just say these are far from the only career troubles and allegations of dishonesty that
                                     the young developer would face. You will find out more in a follow-up to be posted shortly.

                                     Sources: Pastebin [1], Reprimand Letter From Employer, Magical Tux [1], [2]



                                     "We’re Apple. We don’t wear suits. We don’t even own suits." -- Apple CEO Steve Jobs




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